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           Olivia Y., Jamison J., et al. V. Phil
              Bryant, Donald Taylor, et al.

                                 Kristi Plotner
                               November 28, 2018




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      1    to start coming into place?

      2          A.    The first ones at the end of July of

      3    2017, 50 percent.

      4          Q.    Okay.     And do you know whether they did?

      5          A.    Yes, they did.

      6          Q.    And then did you continue to meet the

      7    caseload requirements through the end of that

      8    year?

      9          A.    I had left the agency.

     10          Q.    Why did you leave the agency?

     11                MS. RACHAL:      Objection, outside of

     12          scope.      You can answer.

     13                THE WITNESS:      There was an

     14          administration change.         I signed on with the

     15          former Deputy Commissioner to accomplish

     16          certain things.       At the time of the

     17          administration change, I felt like I needed

     18          to leave and do other things.

     19          Q.    (By Ms. Lowry)      And is that because you

     20    felt you could no longer accomplish those certain

     21    things that you set out to do?

     22          A.    My position changed, which limited my

     23    ability to be able to do that, yes.

     24          Q.    And how did your position change?

     25          A.    The areas of responsibility that I




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      1    outlined for you previously were no longer my area

      2    of responsibility.       I had one item only, which was

      3    to look for funding opportunities for the agency.

      4          Q.    And you didn't want to just do that?

      5          A.    It was not what I had originally signed

      6    on to do, no.

      7          Q.    What had you signed on to do?

      8          A.    To fix the system.

      9          Q.    And you felt that the change -- the

     10    administration change was not going to enable you

     11    to do that?

     12          A.    I felt like the new role that I was

     13    given would not allow me to do the things that I

     14    had aspired to do.

     15          Q.    How did you learn about the change in

     16    your position?

     17          A.    August 30th.

     18          Q.    I'm sorry.      So how did you learn?

     19          A.    Oh, how did I learn?

     20          Q.    Yes.

     21          A.    I was called into the office.             I was out

     22    at a meeting.      Dr. Chandler first mentioned it to

     23    me, and then I met with Justice Dickinson to

     24    discuss the new responsibilities.

     25          Q.    So was it, basically, Justice Dickinson




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